                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


ROADGET BUSINESS PTE. LTD., a private
limited company organized in the country of
Singapore,                                                  Case No.: 1-23-cv-17036

                              Plaintiff,

       vs.                                                  Judge Sara L. Ellis

THE INDIVIDUALS, CORPORATIONS, LIMITED
LIABILITY COMPANIES, PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A TO THE
COMPLAINT,

                              Defendants.


             JOINT MOTION TO CONTINUE INITIAL STATUS CONFERENCE

       Counsel for all parties hereby jointly move to continue the initial telephonic status

conference currently scheduled for February 22, 2024. The parties are in agreement on this

schedule and do not seek this amendment for the purpose of unnecessary delay. No previous

such continuances have been requested.

       The parties respectfully request that the Court continue the initial status conference to

March 26, 2024, when the Court is ruling on Plaintiff’s motion for preliminary injunction. A

Joint Initial Status Report will be submitted to the Court by March, 19, 2024.




Date: February 15, 2024

Respectfully submitted,
/s/ Steven J. Horowitz           /s/ Christopher J. Fahy

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